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UNITED STATES DISTRICT COURT FOR THE WESTERN DISTRICT OF VIRGINIA

 

 

Elizabeth Sines, et al.
Plaintiff
vs. Case No: 3:17C V00072
Jason Kessler, et al.
Defendant
AF J

1, Jim Perna, a Private Process Server, being duly sworn, depose and say:

That I have been duly authorized to make service of the Summons, Civil Cover Sheet with Addendum, Complaint, and Plaintiffs’
Jury Demand in the above entitled case.

That I am over the age of eighteen years and not a party to or otherwise interested in this action.

That on 10/24/2017 at 6:25 PM, I served National Socialist Movement c/o Jeff Schoep, Resident Agent with the Suramons, Civil
Cover Sheet with Addendum, Complaint, and Plaintiffs' Jury Demand at 22803 Rausch Avenue, Eastpointe, Michigan 48021 by
serving Jeff Schoep, Resident Agent, authorized to accept service.

Jeff Schoep is described hercin as:

Gender: Male Race/Skin: White Age:40's Weight: 180 Height: 5'9" Hair: Balding Glasses: No

I do solemnly declare and affirm under penalty of perjury that I have read the foregoing information set forth herein is correct to
the best of my knowledge, information, and belief.

(Of 2Y Zo 7 =

 

 

Executed On

 

Client Ref Number:N/A
Job # 1534664

Capitol Process Services, Inc. | 1827 18th Street, NW, Washington, DC 20009 | (202) 667-0050

 
